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                                                          Exhibit A to the Complaint
Location: Philadelphia, PA                                                                          IP Address: 73.165.30.112
Total Works Infringed: 34                                                                           ISP: Comcast Cable
 Work       Hashes                                                                UTC        Site          Published     Registered   Registration
 1          Info Hash:                                                            04-25-     Blacked       06-09-2018    07-14-2018   PA0002130453
            AF96EE573EB75078F49ABE87BB1FE91A3F15C177                              2021
            File Hash:                                                            23:28:57
            68ED6A95AB2DCBC2551585DA2E428A2B9A052774D64B8426A22A6FFA825629F1
 2          Info Hash:                                                            04-25-     Blacked       08-30-2018    10-16-2018   PA0002127777
            7EE851E09AB8BD5EB069382157EDEA8F2196F6D3                              2021       Raw
            File Hash:                                                            23:20:01
            5015B4A5FAB09074E326E9CC89F43B29F1F63336A25B87B9D3A67061C215EE06
 3          Info Hash:                                                            04-25-     Blacked       11-21-2018    12-18-2018   PA0002141915
            9E327416325533C3D0F6B592CD2F8F3F70FC1D0A                              2021       Raw
            File Hash:                                                            23:17:28
            BB53292CCC77CAC9E8F30E027AC2F15221938C8CE0E3E907C5957FC576F75245
 4          Info Hash:                                                            04-19-     Tushy         04-26-2020    05-19-2020   PA0002241478
            08A41F7A327E6D515D72226A6677C858F98FB25F                              2021
            File Hash:                                                            23:32:15
            94B8223AA557DEFD6FA162762B73E7069D5F9FE52E48360D2748E102A4AB4418
 5          Info Hash:                                                            02-16-     Blacked       12-28-2018    02-02-2019   PA0002155006
            3C6D5785FDC3A9947EA11D9923048076FDE43B96                              2021       Raw
            File Hash:                                                            13:34:42
            CC0ECD3F17E3824A92E704EF79A7ED2101BF86232CBE14F2E24D445CD091E6AB
 6          Info Hash:                                                            02-10-     Blacked       04-06-2020    04-17-2020   PA0002237306
            28B8B31C792F1CA34A908834F37BBD4399E80A0C                              2021       Raw
            File Hash:                                                            18:16:22
            FF460F609C0680B6B4BD70DC2BE94C1ADA2A5BF2DF66C005BAEE0A1C35D407AD
 7          Info Hash:                                                            01-16-     Blacked       02-26-2019    03-31-2019   PA0002163980
            4B9E0DF0E3594DC1E77FE5C08FA2A6FEA65979DC                              2021       Raw
            File Hash:                                                            02:38:26
            6D0B00FE6045563EFFA36214E2784DFAE617E37E8DBCA72A35C1F9D1D75D314F
 8          Info Hash:                                                            01-15-     Tushy         10-13-2017    10-19-2017   PA0002058299
            23EB7D7E16DD92EC70D4F119FBC6039307E914E7                              2021
            File Hash:                                                            03:23:48
            B5787689E64C8A1A5072708B59E4212459827FAA8E016443600B98120D6D3C40
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         01-15-     Tushy     03-27-2019   04-29-2019   PA0002169944
       333EF607453E84D6528AC24F90BAF0FAD4A1117A                           2021
       File Hash:                                                         02:56:01
       8D68759EBB0D26D114D773A87E8A1E37F1FD3735B98773BB38286C4C8F1F36F1
10     Info Hash:                                                         01-15-     Vixen     09-06-2018   11-01-2018   PA0002143433
       B80966EB25CE62DA272DA719ED0EFEF0C671D237                           2021
       File Hash:                                                         02:02:21
       880F10162CDB56DC5247BDCEB67E9A21030D9D6959F71B6C800B1B850F8DDE38
11     Info Hash:                                                         01-08-     Blacked   06-19-2018   07-14-2018   PA0002130450
       D7D96219F75CB298E2C1029F953017860E5C1004                           2021
       File Hash:                                                         23:45:56
       BB58FBED18D81A3F0D14C271ADF4BE3A045E2E0C621BB5195F09A2908C189EF1
12     Info Hash:                                                         11-30-     Tushy     07-20-2018   09-05-2018   PA0002134598
       1018A676073B24EB9A7384E7BF56686079E27B27                           2020
       File Hash:                                                         05:11:32
       14933E0910B60AF2E3929652EA75A2557D35397916823CC0D76B623CECFEAD2B
13     Info Hash:                                                         10-13-     Tushy     04-06-2018   06-19-2018   PA0002126674
       C4705CDBE06284FCCC4E7C0AFA85554E5CE10645                           2020
       File Hash:                                                         21:40:03
       38CC20179FAA7E2EEEDD06E0F252EBF10C635BDF2F21540B6C96D0A18253BB10
14     Info Hash:                                                         09-24-     Blacked   11-06-2019   11-15-2019   PA0002211857
       D7849F96160CA679A287B837FEFE40DDEA87571B                           2020
       File Hash:                                                         18:10:50
       0A445E74466B1700F1F7402E2C9F03169006656C8BA6A80CD36958EF9C0589E1
15     Info Hash:                                                         09-16-     Blacked   04-17-2018   05-23-2018   PA0002101308
       F15A3D34FF0FD051292EC25A6DBB3F574863F6E2                           2020       Raw
       File Hash:                                                         23:38:41
       4D5131F83A161A61BCC759E3AA7729C7BF9F99527E0D0FA59AD26AD5A61316B7
16     Info Hash:                                                         09-09-     Blacked   10-14-2018   11-01-2018   PA0002143424
       284E4E396F1F787478E836FEEF797DE00E33D5E4                           2020       Raw
       File Hash:                                                         04:57:23
       C73311CD2890C6A77952ECBEDBCAEF582E16811B208D95CF9B9474DE8756B0A7
17     Info Hash:                                                         09-05-     Blacked   08-23-2019   09-11-2019   PA0002199989
       CB0D3A2DD39D12D6D1D0E2C443ED888B62498111                           2020
       File Hash:                                                         14:56:08
       7B707376CC5B122A7C27CDA6D9D25EA806B8A3386816712746E86CC013B76C2A
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         09-02-     Blacked   11-25-2019   12-09-2019   PA0002216262
       E9DB8BE26B56BFF69AC9279777644AE132988A8F                           2020
       File Hash:                                                         04:12:47
       F83F1606590AC7256D37203AA4280E8892E6D55FE39E51AEFFF1693785E7D656
19     Info Hash:                                                         09-02-     Blacked   11-16-2018   11-25-2018   PA0002136637
       291FBDCCB166E2B3BABD1BBBEDC629EC375EEB32                           2020
       File Hash:                                                         03:53:04
       953B4FA05464C77F34EA401CB5807830535C64655212BEFFD41DC609249E6C56
20     Info Hash:                                                         09-01-     Blacked   03-21-2019   04-17-2019   PA0002186999
       D2B4C2613F8E4D42CDA01E8D2703FBBDE0C97200                           2020
       File Hash:                                                         03:55:26
       E405FE35A132796271E2ADBEA8A8C4C82459515753C2BB36CE694B726C3CF3A3
21     Info Hash:                                                         09-01-     Blacked   08-31-2020   09-05-2020   PA0002255473
       4F3CAA9D7D8185F294DFF09E8276BDEC62D8A41C                           2020       Raw
       File Hash:                                                         02:59:04
       919E33445946B2E47A9223CBBA2E2666E8F11A358771039219D7B4160EB14A31
22     Info Hash:                                                         08-29-     Blacked   03-13-2019   04-17-2019   PA0002186977
       16532C1256F1D8936C056A44AAECF4E274B576EB                           2020       Raw
       File Hash:                                                         19:57:13
       A96D177318D1B6E7045F96F5FC80064D60A1D95D1C3D2CB1273B78D2ED349D5D
23     Info Hash:                                                         07-15-     Blacked   02-19-2020   03-18-2020   PA0002241617
       549D81C2E31A1CB34CE19937D9D3CEE671D29A4C                           2020
       File Hash:                                                         01:53:51
       C8CCB78689D918D0D79665B3B33C13341BA46849EA640AFB43423CF912D9BAE6
24     Info Hash:                                                         06-21-     Tushy     09-03-2019   09-13-2019   PA0002200699
       1D1CFE4975FA86AA9A3DC1505EEAEED91CCB9B36                           2020
       File Hash:                                                         03:01:25
       3954CD69773DA875F67C129965A028CC69868B630CEF7F65279EEC4C3A017EC9
25     Info Hash:                                                         03-08-     Blacked   01-15-2019   02-02-2019   PA0002155371
       8E4A1D5493356D733FE786D22DA796493DB5922B                           2020
       File Hash:                                                         03:17:20
       5E32FFAAB916709CC4C35E9313620951C82208CA74FCF6B805649D3E22553150
26     Info Hash:                                                         03-04-     Blacked   02-24-2020   03-18-2020   PA0002241627
       BCC18BD6272372F3CFC59A1BE674F61C4788F0CB                           2020
       File Hash:                                                         15:46:23
       8A56C37DE8CCCDAA7BBD3EDFA4DC0F49439A4A4CCE0BED2C6768E4FC69BA25C0
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         01-13-     Vixen     09-26-2018   10-16-2018   PA0002127776
       A1D049D475923190FF3A7134A0D2B9F10D62914B                           2020
       File Hash:                                                         05:05:25
       5CC7B2A2F9FDF77BAA9590EA331B4ACA835003E9200CE9B46F9375AB1B4632E8
28     Info Hash:                                                         01-13-     Tushy     10-23-2018   11-25-2018   PA0002136621
       B78AB6CCC9DD4B70558754E802F6BAC4B2E097F0                           2020
       File Hash:                                                         02:53:24
       DC7D19B9166202BC161BEDF969F840068FFB0B9168E1ABB9959B9D3136989FB0
29     Info Hash:                                                         01-13-     Vixen     04-19-2019   05-28-2019   PA0002200778
       F84DCE97DEB71401BE49198E7C5E446530B70B41                           2020
       File Hash:                                                         00:22:31
       848BF44DF42E6DA689001798B82FD17D51F221553930DA06ED1BADBC66BDA6F1
30     Info Hash:                                                         01-13-     Vixen     07-03-2018   07-26-2018   PA0002112153
       8F914AD5D985A4614B945A9CBAEA70996038A99E                           2020
       File Hash:                                                         00:21:18
       499AAECDDEB0EF38775D6585DDFB835C753A3B942C24192C172D512837C47F65
31     Info Hash:                                                         01-12-     Vixen     10-11-2018   10-28-2018   PA0002130457
       50E15D2CBEC667D65E27914E8CD54CFC687BA554                           2020
       File Hash:                                                         23:34:21
       894EB6B77308919ACE1143A162DF1B62024AC823EACDFAD00FFF7795200FA6E8
32     Info Hash:                                                         11-30-     Tushy     06-15-2017   07-07-2017   PA0002070815
       5C208E2ABF6083135CA52776A02D87442F215D60                           2019
       File Hash:                                                         19:10:19
       B55B49F458A42B14292868F01D2EB5F08D082276EBFADCC3517A80CD6DC4BAD9
33     Info Hash:                                                         09-17-     Blacked   08-03-2019   09-10-2019   PA0002199412
       FE39146F9DAF4014E1B016D7A4A99B25F4BAE402                           2019
       File Hash:                                                         18:06:24
       B537777134FFFE0A3C4ED930D7E2EE8EBA2DEEF32DA1B6AA08E0ABA59EC6D2FB
34     Info Hash:                                                         04-04-     Vixen     05-09-2018   06-19-2018   PA0002126667
       3C109B5928289FD0855824AB59FDCD825AE3DE52                           2019
       File Hash:                                                         00:22:27
       298F389FC5A0D0A4362F8153771BC4364DF79973187D3C4C998DFBFE5EECDFE8
